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     JOHN R. MANNING (SBN 220874)
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 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   CR-S-09-380 WBS
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     EMILIANO VERA-GIL
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      )       No. CR-S-09-380 WBS
                                                    )
10
                                                    )
            Plaintiff,                              )       STIPULATION AND (PROPOSED) ORDER
11
                                                    )       CONTINUING STATUS CONFERNCE
     v.                                             )
12
                                                    )       Judge: Hon. William B. Shubb
     URIEL OCHOA-ESPINDOLA et al.,                  )
13
                                                    )
                                                    )
14          Defendants.                             )
                                                    )
15
                                                    )
                                                    )
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18
                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Michael M. Beckwith, Assistant United States Attorney, together with
20
     counsel for defendant Uriel Ochoa-Espindola, Preciliano Martinez, Esq., counsel for defendant
21
     Jose Sergio Espindola, Mark J. Rosenblum, Esq., counsel for defendant Valentin Ramirez-
22
     Cardinez, Robert L. Forkner, Esq., counsel for defendant Rafael Arreola-Sahagun, Dina L.
23
     Santos, Esq., counsel for defendant Emiliano Vera-Gil, John R. Manning, Esq., counsel for
24
     defendant Jose Manuel Vera-Gil, Danny D. Brace, Esq., counsel for defendant Armando
25

26
     Espindola, John R. Durree, Jr., Esq., and counsel for defendant Luis Miguel-Rodrigues, Dan F.

27
     Koukol, Esq., that the status conference presently set for March 7, 2011 be continued to April

28   4, 2011, at 8:30 a.m., thus vacating the presently set status conference. Counsel for the parties



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              Case 2:09-cr-00380-WBS Document 101 Filed 03/07/11 Page 2 of 4



 1   agree that this is an appropriate exclusion of time within the meaning of Title 18, United States
 2   Code § 3161(h) (7) (B) (ii) and (iv) (continuity of counsel/ reasonable time for effective
 3   preparation) and Local Code T4, and agree to exclude time from the date of the filing of the
 4
     order until the date of the status conference April 4, 2011.
 5
                    The parties are requesting more time to continue ongoing plea negotiations. Each
 6
     defendant will need time to consider any plea offer he or she may receive. Additionally, counsel
 7
     for each defendant needs more time to review the discovery in this case, discuss that discovery
 8
     with their respective clients, consider evidence that may affect the disposition of this case, and
 9
     discuss with their clients how to proceed. The parties stipulate and agree that the interests of
10
     justice served by granting this continuance outweigh the best interests of the public and the
11
     defendants in a speedy trial. 18 U.S.C. § 3161 (h) (7) (A).
12
     IT IS SO STIPULATED
13
     Dated: March 3, 2011                                  /s/ John R. Manning for
14
                                                           PRECILIANO MARTINEZ
15                                                         Attorney for Defendant
                                                           Uriel Ochoa-Espindola
16
     Dated: March 3, 2011                                  /s/ John R. Manning for
17                                                         MARK ROSENBLUM
                                                           Attorney for Defendant
18
                                                           Jose Sergio Espindola
19
     Dated: March 3, 2011                                  /s/ John R. Manning for
20                                                         ROBERT FORKNER
                                                           Attorney for Defendant
21                                                         Valentin Ramirez-Cardinez
22   Dated: March 3, 2011                                  /s/ John R. Manning for
23
                                                           DINA L. SANTOS
                                                           Attorney for Defendant
24                                                         Rafael Arreola-Sahagun
25   Dated: March 3, 2011                                  /s/ John R. Manning
                                                           JOHN R. MANNING
26                                                         Attorney for Defendant
27
                                                           Emiliano Vera-Gil

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                                                       2
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 1   Dated: March 3, 2011                     /s/ John R. Manning for
                                              DANNY D. BRACE, JR.
 2
                                              Attorney for Defendant
 3                                            Jose Manuel Vera-Gil

 4   Dated: March 3, 2011                     /s/ John R. Manning for
                                              DAN KOUKOL
 5
                                              Attorney for Defendant
 6                                            Luis Miguel Orrutia-Rodrigues

 7   Dated: March 3, 2011                     /s/ John R. Manning for
 8
                                              JOHN R. DUREE, JR.
                                              Attorney for Defendant
 9                                            Armando Espindola
10

11
     Dated: March 3, 2011                     Benjamin B. Wagner
                                              United States Attorney
12

13
                                              by: /s/ John R. Manning for
14                                            MICHAEL M. BECKWITH
                                              Assistant United States Attorney
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              Case 2:09-cr-00380-WBS Document 101 Filed 03/07/11 Page 4 of 4



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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                        ) No. CR-S-09-380 WBS
10
                                                      )
                                                      )
11          Plaintiff,                                ) ORDER TO
                                                      ) CONTINUE STATUS CONFERNCE
12
     v.                                               )
                                                      )
13
     URIEL OCHOA-ESPINDOLA et al.,                    )
                                                      )
14
                                                      )
            Defendants.                               )
15
                                                      )
                                                      )
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                                                      )
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            GOOD CAUSE APPEARING, it is hereby ordered that the March 7, 2011 status

20
     conference be continued to April 4, 2011 at 8:30 a.m. The court finds that the ends of justice

21
     warrant an exclusion of time and that the defendant’s need for continuity of counsel and

22
     reasonable time for effective preparation exceeds the public interest in a trial within 70 days.

23
     THEREFOR IT IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161

24
     (h) (7) (B) (iv) and Local Code T4 from the date of this order to April 4, 2011.

25
     IT IS SO ORDERED.

26
     Dated: March 4, 2011
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                                                      4
